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03988-S2402 Law No. 09 L 1305

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

CURTIS A. SMITH,
Plaintiff,

VS. Law No. 3:10-cv-00242-DRH-CJP

ILLINOIS ASSOCIATION OF SCHOOL BOARDS;

and HIGHLAND COMMUNITY UNIT SCHOOL
DISTRICT NO. 5,

JURY DEMAND

Defendants.
DEFENDANT HIGHLAND COMMUNITY UNIT SCHOOL DISTRICT NO. 5’s
ANSWER TO PLAINTIFF'S THIRD AMENDED COMPLAINT

NOW COMES Defendant, HIGHLAND COMMUNITY UNIT SCHOOL DISTRICT NO. 5,
(hereinafter referred to as “Highland’), by and through its attorneys, DOUGLAS R. HEISE and
HEYL, ROYSTER, VOELKER & ALLEN, and for its Answer to Plaintiff's Third Amended Complaint,
states as follows:

Common Allegations

1. Highland admits that this Court has jurisdiction over this matter but denies that it
violated the Age Discrimination in Employment Act.

2. Highland admits the allegations contained in paragraph 2 of Plaintiff's Complaint.

3. Highland has insufficient information to either admit or deny the allegations of
paragraph 3.

4. Highland has insufficient information to either admit or deny the allegations of

paragraph 4.

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5. Highland admits the allegations contained in paragraph 5 of Plaintiff's Complaint.
6. Highland admits that the IASB is an association in the State of Illinois which

undertakes to procure employees for employers. Highland cannot admit or deny the remaining
allegations of paragraph 6.

7. Highland admits the allegations of paragraph 7.

8. Highland admits the allegations of paragraph 8.

9. . Highland admits the allegations of paragraph 9.

10. Highland has insufficient information in which to either admit or deny the
allegations contained in paragraph 10.

11. Highland has insufficient information in which to either admit or deny the
allegations contained in paragraph 11.

12. Highland has insufficient information in which to either admit or deny the
allegations contained in paragraph 12.

13. Highland admits the allegations of paragraph 13.

14. Highland has insufficient information to either admit or deny that Plaintiff applied
for the Highland position.

Highland admits that it filled the superintendant position and admits that the person it
hired is younger than Plaintiff.

15. Highland has insufficient knowledge to either admit or deny the allegations
contained in paragraph 15.

16. Highland has insufficient knowledge to either admit or deny the allegations

contained in paragraph 16.

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17. Highland admits the allegations contained in paragraph 17 of Plaintiff's
Complaint.

18. | Highland admits the allegations contained in paragraph 18 of Plaintiff's
Complaint.

19. Highland admits the allegations contained in paragraph 19 of Plaintiff's
Complaint.

20. Highland admits the allegations contain in paragraph 20 of Plaintiff's Complaint.

WHEREFORE, having responded to Plaintiff's Complaint, Highland respectfully requests
this Court to dismiss same, with prejudice, at Plaintiff's costs.

Count I - Age Discrimination against IASB

21-24, Highland provides no answer to the specific allegations of this Count in that it is
not addressed to it except to repeat and incorporate its responses to para 1-20 as if fully set
forth herein.

Count II - Age Discrimination against Highland Community Unit School Dist. #5

25. Highland repeats and re-alleges its responses to paragraphs 1-20 as if fully set
forth herein.

26. Highland denies the allegations of paragraph 30.

27. Highland denies the allegations of paragraph 31.

28. Highland denies the allegations of paragraph 32.

WHEREFORE, having responded to Count II of Plaintiff's Complaint, Highland respectfully

requests this Court to dismiss same, with prejudice, at Plaintiff's costs.

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Count III - Retaliation under ADEA against IASB

29-32. Highland provides no answer to the specific allegations of this Count in that it is
not addressed to it except to repeat and incorporate its responses to paragraph 1-20 as if fully
set forth herein.

Count IV - Age Discrimination Under Illinois Human Rights Act Against IASB

33-40. Highland provides no answer to the specific allegations of this Count in that it is
not addressed to it except to repeat and incorporate its responses to paragraph 1-20 as if fully
set forth herein.

Count V - Retaliation Under Illinois Human Rights Act Against IASB

41-48. Highland provides no answer to the specific allegations of this Count in that it is
not addressed to it except to repeat and incorporate its responses to paragraph 1-20 as if fully
set forth herein.

DEFENDANT DEMANDS TRIAL BY JURY OF TWELVE
ON ALL COUNTS.

HIGHLAND COMMUNITY UNIT SCHOOL DISTRICT NO. 5,
Defendant a

 

BY: Yl i
HEYL, ROYSTE AVOELKER & ALLEN

Douglas R. Heise

ARDC #6195244

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that on this Gin day of June, 2011, the foregoing
was electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing(s) to the following:

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